Case 2:97-cr-20234-.]PI\/| Document 107 Filed 07/15/05 Page 1 of 3 Page|D 68

IN THE UNITED sTATES DISTRICT C0URT /_1?@3
FOR THE wEsTERN I)ISTRICT oF TENNESSEE ease ,_…_.._, D»C-
wEsTERN DIVISION
05.;131_\5 PH 2= 08

 

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UNITED sTATEs 0F AMERICA ) CR. Nos. 97-20§1§@{` §§ " l UWRT
) 97-20235-$ t ‘ '
Plaimiff, ) 97-20236-M1
) 97-20237-1\/11
vs ) 97_20238-1\/11
) 97-20239-M1
EDDIE JETER ) 97-20240-M1
) 97-20241-M1
Defendant. )
0R1)ER To sURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Pn`sons by reporting to the FCI MEMPHIS
(SCP) 1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Oftice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the FS day of July, 2005.

0two fter

PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

This document entered on the docket sheet |n comptianca

with Ftule §§ anci.'or 32tb) FF\CrP on

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Case 2:97-cr-20234-.]PI\/| Document 107 Filed 07/15/05 Page 2 of 3 Page|D 69

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

UN1TED sTATES D1STR1CT COURT - WESTE D1's'TR1CT OF ENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
case 2:97-CR-20234 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Jacob E. Ervvin
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Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

